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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA


   UNITED STATES OF AMERICA

         v.                                 Case No. 19-20450-CR-Scola

    ALEX NAIN SAAB MORAN, et al.,

       Defendants.


                     DEFENDANT ALEX NAIN SAAB MORAN’S MOTION
                            TO DISMISS THE INDICTMENT




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                                          INTRODUCTION
          The Eleventh Circuit remanded this case “to fully develop the record” concerning the
   entitlement of Defendant Alex Nain Saab Moran (“Mr. Saab”) to diplomatic immunity. United
   States v. Saab Moran, No. 21-11083, 2022 WL 1297807, at *2 (11th Cir. May 2, 2022). As detailed
   herein, this factual development confirms that Mr. Saab is a Venezuelan Special Envoy, and the
   United States Government was aware of Mr. Saab’s ongoing negotiations with Iranian officials in
   that capacity. Likewise, the United States Government either received or was made aware of
   multiple assertions of immunity through diplomatic channels and INTERPOL. The facts show
   unequivocally that Mr. Saab was a Special Envoy to Iran on behalf of Venezuela, and the only
   remaining question is legal, not factual—namely: Was Mr. Saab entitled to diplomatic immunity
   when he was traveling to Iran on June 12, 2020? The answer to this question is indisputably “yes.”
          Under the Diplomatic Relations Act, 22 U.S.C. §§ 254a-258a (“DRA”), the 1961 Vienna
   Convention on Diplomatic Relations, 23 U.S.T. 3227, T.I.A.S. No. 7502 (“VCDR”), the 1969
   Vienna Convention on the Law of Treaties, 1155 U.N.T.S. 331 (“VCLT”) and customary
   international law, the United States is obligated to respect Mr. Saab’s personal inviolability—and
   thus, immunity from arrest, detention and prosecution—during his transit from Venezuela to Iran.
   Pursuant to these domestic and international legal obligations, Mr. Saab’s entitlement to
   diplomatic immunity while “in transitu” requires proof of only three things: (1) he was appointed
   as a Special Envoy by the sending State, Venezuela; (2) he was accepted as a Special Envoy by
   the receiving State, Iran; and (3) he was traveling on a diplomatic mission between the sending
   and receiving States when he was detained in Cape Verde (at the behest of the United States).
          The evidence adduced during discovery and the evidence presented by the Defendant in
   this motion amply demonstrate that each element of in transitu immunity exists. This mandates
   dismissal. Indeed, in the face of such strong evidence of Mr. Saab’s diplomatic status, the
   government’s position in this case is unprecedented. It is predicated on two legally flawed and
   dangerous arguments. First, the government asks this Court to impermissibly delegate its
   obligation to interpret United States law to Cape Verdean courts and officials. Second, it attempts
   to conflate State/government recognition with diplomatic immunity by arguing that in transitu
   immunity is narrowly applicable only to those diplomats working on behalf of a government whose




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   head is formally recognized by the U.S. Executive Branch, rather than more broadly to those
   diplomats working on behalf of sovereign states.1
          Regarding the first argument, any Cape Verdean court determination would not bind U.S.
   courts, nor relieve the United States of its own independent obligation to abide by U.S. domestic
   law (the DRA), and international law (the VCDR and VCLT and customary international law).2
   On the second question, the United States’ recognition of Juan Guaidó, rather than Nicolás
   Maduro, as President of Venezuela does not alter the longstanding law on in transitu diplomatic
   immunity afforded to diplomats of sovereign states. If it did, as the United States itself has
   recognized in prior litigation, such “a deviation from the international consensus on the broad
   scope of diplomatic immunity from the jurisdiction of United States courts ‘would create an acute
   risk of reciprocation by other States, potentially subjecting U.S. diplomats to controversial
   litigation in foreign jurisdictions.’” Devi v. Silva, 861 F. Supp. 2d 135, 142 (S.D.N.Y. 2012)
   (quoting U.S. Statement of Interest in Sabbithi v. Al Saleh, No. 1:07-cv-115-EGS (D.D.C.), ECF
   No. 48 at 21). Accepting the government’s position here would place U.S. diplomats at risk around
   the world; any third country could simply “de-recognize” the current U.S. President and our
   sovereign diplomats would lose their inviolability when transiting to/from their diplomatic posts
   around the world. This would thrust diplomatic relations into a state of chaos and conflict.
                   BACKGROUND AND CONCISE STATEMENT OF FACTS
          A.      Mr. Saab’s Appointment as Venezuelan Special Envoy and Concomitant Missions
                  to Iran
          From April 9, 2018, to the present Mr. Saab has at all times been an accredited diplomatic
   agent of Venezuela. On that date, Jorge Arreaza Montserrat, then-Venezuelan Minister of Foreign
   Affairs (“Minister Arreaza”), duly appointed Mr. Saab:
          Special Envoy of the Government of the Bolivarian Republic of Venezuela, with
          broad powers to take steps on behalf of the Bolivarian Republic of Venezuela,
          aimed at guaranteeing the commercial and humanitarian procurement of basic
          necessities for social assistance programmes of the National Executive, especially
          foodstuffs, supplies, machinery and medical equipment giving authorisation to hold
          meetings with government authorities, representatives of institutions and
          companies of public or private ownership, in the search for practical solutions to
          the complex situations that affect the Bolivarian Republic of Venezuela as a result


   1
    The United States, of course, continues to recognize Venezuela as a sovereign state.
   2
    In any event, the country’s judiciary has made recognition of immunity dependent on an act of
   Cape Verde’s executive branch.

                                                    2
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          of the commercial and financial blockade to which it has been subjected since 2015.
          . . . the respective authorities are requested to recognise this appointment and to
          allow him to freely carry out his functions, to grant him the favour and assistance
          he may need, and to maintain the prerogatives that correspond to him as an Agent
          in the Service of the Government of the Bolivarian Republic of Venezuela that Alex
          Nain Saab Moran holds, in accordance with the terms established under
          international law.
   See Declaration of Maria Gonzalez ¶¶ 8-10 & Ex. A (Diplomatic Credential dated April 9, 2018).
   Thereafter—and thus at all times during this prosecution—Mr. Saab was entitled to diplomatic
   immunity (including immunity from prosecution and arrest) while in transit on a diplomatic
   mission: when the indictment was returned on July 25, 2019; when Mr. Saab was detained in Cape
   Verde on June 12, 2020; at all times during his detention in Cape Verde over the ensuing months;
   when he was forcibly transferred to this district on October 16, 2021; and for the past twelve
   months he has spent in U.S. custody.
          For the two years following his appointment in April 2018, Mr. Saab fulfilled his role as a
   Venezuelan Special Envoy. To that end, he was issued a diplomatic passport that specifically
   identified him as a Special Envoy (“Enviado Especial”). See Exhibit 1.3 This activity culminated
   in spring 2020, in response to the global COVID-19 pandemic that shattered Venezuela’s already
   fragile social and economic condition when there was a need for Mr. Saab to negotiate for gasoline,
   food, and medical supplies.4 Even before the pandemic, Venezuela was facing an emergency
   shortage of gasoline and medicine due to crippling external economic sanctions.
          The Venezuelan government tasked Mr. Saab with three official diplomatic missions to
   Iran, in March, April, and June 2020, to procure equipment to maintain and repair Venezuela’s oil
   refineries, as well as to obtain gasoline, goods, foodstuffs, and medicine that the country
   desperately needed. Mr. Saab also met with an Iranian diplomatic delegation in Venezuela. He was




   3
     Unless otherwise noted, reference to “Exhibit” or “Ex.” refer to the exhibits attached to the
   declaration of Kendall Wangsgard filed herewith and are designated with numbers. There are five
   additional declarations accompanying this motion (Gonzalez, Ashenoff, Arrieche, Mandl, and
   Pinto).
   4
     There is no doubt that the United States viewed Venezuela’s campaign to counteract U.S.
   economic sanctions in general, and Mr. Saab’s role in these efforts in particular, with disfavor.
   There is, of course, no principle of international law that disqualifies the conduct of diplomatic
   negotiations by one sovereign state and the entitlement of diplomatic agents of that state to
   immunity, based upon what another sovereign state thinks about its merit.

                                                   3
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   Head of Mission on each trip. Two missions were successfully completed, but the third was
   interrupted by Mr. Saab’s interception and detention while he was in transit through Cape Verde.
          B.      The First and Second Diplomatic Missions to Iran
          Mr. Saab’s first mission to Iran was from March 8 through March 15, 2020. Iran, the
   receiving state, described Mr. Saab’s first mission in a diplomatic nota verbal: “Special Envoy
   Saab met with various Iranian authorities to discuss strategic humanitarian supplies to Venezuela
   at the time of the COVID emergency.” See Exhibit 2, NV N° 7041/1206193 (June 8, 2022).
   Photographs from this mission show Mr. Saab meeting with, inter alia, National Iranian Oil
   Productions Distribution Company officials as well as officials from the Iranian Foreign Ministry.
   See Declaration of Richard L. Ashenoff, Exs. A-C. Of crucial importance, Mr. Saab negotiated the
   exchange of Venezuelan gold for gasoline. Mr. Saab also secured an agreement for transport of oil
   refinery equipment to Venezuela.
          Mr. Saab’s second mission was from April 14 through April 21, 2020, following the
   success of the first. Minister Arreaza entrusted Mr. Saab to procure additional necessary resources
   to fight the COVID-19 pandemic and ongoing food shortages caused by sanctions. By letter dated
   April 1, 2020, Minister Arreaza charged Mr. Saab with delivering documents to Iranian officials
   requesting “humanitarian resources of which our country has great need during this period of the
   COVID-19 pandemic.” See Exhibit 3, DM N° 000319 (Apr. 1, 2020). Mr. Saab met with Iranian
   officials in charge of Iran’s food production. Iran has confirmed these details: “Special Envoy Saab
   met with different Iranian authorities in the areas of food, medicine and opening an Iranian
   supermarket in Venezuela.” See Ex. 2, supra.
          C.      The Third—Interrupted—Diplomatic Mission to Iran
          Mr. Saab’s third mission to Iran was scheduled to last from June 12 through June 16, 2020.
   He never reached Iran. On June 11, Mr. Saab attended a meeting at the Venezuelan presidential
   residence, with representatives of the Iranian embassy. See Declaration of Juan Carlos Arrieche
   Granadillo (“Arrieche Decl.”) ¶ 6. Specifically, in attendance was the Iranian Ambassador and his
   staff, as well as President Maduro and First Lady Flores. Id. ¶¶ 6-7. This June 11, 2020, meeting
   lasted approximately two hours in the late afternoon. Id. ¶ 8. Later that evening, the head of Mr.
   Saab’s security team returned to the Presidential Palace to collect three official sealed envelopes
   containing documents from the Presidency and Vice Presidency of Venezuela. Id. ¶¶ 9-10. These




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   were taken to Mr. Saab for delivery to officials in Iran. Mr. Saab then departed Venezuela the
   following morning, with the letters in his luggage. Id. ¶¶ 11-14.
          Mr. Saab was accredited to Ayatollah Ali Khamenei, Supreme Leader of the Islamic
   Republic of Iran. Venezuela sought fuel, medical supplies, and food from Iran, and, to that end,
   Mr. Saab carried with him official diplomatic correspondence from Venezuela to Iran:
          x   A two-page letter in Spanish, dated June 11, 2020, from Nicolás Maduro Moros,
              President of Venezuela, to Ayatollah Ali Khamenei, Supreme Leader of Iran, “through
              the bearer of this letter, [invoking] your intervention in order to guarantee a new urgent
              shipment of five million barrels of petroleum. . . . In the same way, [requesting] your
              valuable support to finalize and fulfill the monthly and periodic shipment of petroleum
              to Venezuela for a year.”

          x   A one-page letter in Spanish dated June 1, 2020, with the notation VP-2020 and
              stamped number 000101, from Delcy Rodríguez Gómez, Executive Vice President of
              Venezuela, to Kazam Khavazi, Minister of Agriculture of Iran, and a one-page letter
              in Spanish dated June 1, 2020, with the notation VP-2020 and stamped number 000106,
              from Delcy Rodríguez Gómez to Sadegh Kharazi, Senior Adviser to the Vice President
              of Iran, each “expressing our deepest words of solidarity in the midst of this pandemic
              that has affected humanity” and expressing “our interest and keenness in inviting you
              to the Bolivarian Republic of Venezuela, in order to consolidate relations of
              cooperation and friendship between both Nations.”5
   See Declaration of Dr. Floriano Mandl (“Mandl Decl.”) ¶¶ 23-26 and Exs. A-C; Declaration of Dr.
   José Manuel Pinto Monteiro (“Pinto Decl.”) ¶¶ 6, 10-12.6
          Moreover, in advance of Mr. Saab’s third mission to Iran, Minister Arreaza advised the
   Iranian Ambassador to Venezuela that Mr. Saab would travel to Iran in his capacity as Special
   Envoy, for meetings with the Ministries of Health, Industry, and Petroleum for acquisition of
   medicines, food, and fuel required by Venezuela. See Exhibit 6, DM N° 000789 (June 3, 2020).
   Iran, in turn, approved the Mission, confirming that food and medicine export meetings had been
   arranged “in consideration of the official visit of the envoy of the Government of the Bolivarian
   Republic of Venezuela to our country, the Distinguished Mr. Alex Nain Saab Moran.” See Exhibit



   5
     Each of these three letters, among other possessions and documents, were seized by the judicial
   police in Cape Verde upon Mr. Saab’s detention. They were held at the Cape Verde prison where
   Mr. Saab was housed, and returned to Mr. Saab, through counsel, on July 22, 2020. See Mandl
   Decl. ¶¶ 16-23. These letters were also produced in pre-trial discovery by the government in this
   matter.
   6
     Additional copies are included as Exhibits 4 and 5 to the Wangsgard Decl.

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   7, Note Verbal N° 610/458732 (June 8, 2020) (with reference by I.DVAMOO No. 000120-A (June
   8, 2020)).
          Mr. Saab’s diplomatic, humanitarian mission remains interrupted.
          D.      The Arrest and Detention of Mr. Saab
          Mr. Saab departed Venezuela for Iran on the morning of June 12, 2020. His flight arrived
   in Cape Verde that evening for a scheduled refueling stopover. However, Cape Verdean authorities
   refused permission for his plane to depart and Mr. Saab was detained, purportedly pursuant to an
   INTERPOL “Red Notice” request by the United States, predicated on the indictment in this case.7
          Prior to his departure for Iran on the third mission, the U.S. government had detailed
   intelligence of Mr. Saab’s diplomatic activities on behalf of Venezuela negotiating the trade of
   Venezuela’s primary resources—gold and oil—for goods needed by the Venezuelan people.
   Specifically, the government has disclosed that it was aware that Mr. Saab was involve in the
   refining of Venezuelan gold and the use of that gold to purchase goods, and that he had toured a
   Venezuelan gold mind with an “Iranian delegation.” See Exhibit 12. See also Exhibit 13 (a May
   2020 report in the possession of the State Department describing his Missions to Iran and
   negotiations); Exhibit 14.
          Mr. Saab’s specific diplomatic activities vis-à-vis Iran were also well known to the
   government prior to departure for his third diplomatic mission. Specifically, the government
   disclosed that on June 11, 2020, “Miami FD EG 10 received a tip from the Special Operations
   Division (SOD)” that Mr. Saab would be flying from Venezuela to Iran the following day and
   “would have to stop for fuel somewhere in northwest Africa.” Ex. 12 at 1. Once the government




   7
     Mr. Saab’s plane landed in Cape Verde at 8:09pm (local time) on June 12 and the Cape Verdean
   police detained him at approximately 9:00pm when his plane was prevented from departing. At
   that time, only a “Wanted Person Diffusion” notice was then-outstanding, while the United States
   Government was scrambling to get a Red Notice issued and keep Mr. Saab’s plane grounded. The
   Red Notice did not issue until 9:37pm, which is after Mr. Saab was detained. See Exhibit 8. Within
   a few hours of his arrest, Venezuela invoked Mr. Saab’s immunity both to the Cape Verdean
   authorities and, in addition, through NCB Caracas in a communication to the Secretary General of
   INTERPOL seeking to invoke Article 135 of the IRPD informing it that Mr. Saab was acting as
   representative of Venezuela. See Exhibit 9 (June 15, 2020). However, this was not acted on
   substantively because NCB Washington withdrew its request for the Red Notice. See Exhibit 10
   (June 25, 2020); Exhibit 11 (June 30, 2020).

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   knew that Mr. Saab would stopover in Cape Verde, “Miami FD EG 10 and prosecutors began to
   work to execute a capture operation in Cape Verde.” Id.
          Importantly, the government’s disclosure reveals that it was well aware that immediately
   prior to departing for Iran, Mr. Saab held meetings in Venezuela with an “Iranian delegation,”
   ostensibly relating to the Iranian delegation’s interest in Venezuelan gold. Id. The government’s
   disclosure further states that, “[i]t was believed that they would [fly] to Tehran, Iran” but “[w]hen
   the plane was stopped in Cabo Verde with Saab Moran and his son on board, there was no Iranian
   delegation on the plane.” Id. The government’s limited disclosure confirms that it knew with whom
   Mr. Saab had meetings in Venezuela. It further reveals that the government knew Mr. Saab was
   engaged in diplomacy with Iran and that his travels were connected to that diplomacy.
          As noted above, Cape Verdean authorities seized Mr. Saab’s belongings at the time of his
   detention, including the diplomatic correspondence from President Maduro and Vice President
   Rodríguez Gómez. Mr. Saab also carried, and the Cape Verde authorities also seized, documents
   of an economic nature. See Mandl Decl. ¶¶ 24, 27 & Ex. D; Pinto Decl. ¶ 13. These were produced
   by the government in pre-trial discovery and include an authorization by the Central Bank of
   Venezuela for the export of 80 bars of gold, see Exhibit 15, and a delivery certificate of
   $53,542,951.51 of gold for the acquisition of gasoline. See Exhibit 16.
          E.      Venezuela, Mr. Saab, and Iran Have Repeatedly Confirmed Mr. Saab’s Diplomatic
                  Status
                  1.      Venezuela and Mr. Saab
          Venezuela has vehemently objected to this prosecution from the outset—as has Mr. Saab—
   in light of his diplomatic status. On June 13, 2020, the day after the arrest, Minister Arreaza wrote
   to the Minister for Foreign Affairs, Communities and Defense of Cape Verde, Luís Filipe Lopes
   Tavares emphasizing that Mr. Saab was acting as a representative of the Venezuelan government
   to “guarantee the humanitarian provision of medical supplies, medicines and urgent foodstuffs for
   our country in the context of the COVID-19 pandemic. . . .” See Exhibit 17, Ltr. 000811 (June 13,
   2020). Mr. Saab’s immunity under international law was again invoked, by Minister’s Dispatch,
   that same day. See Exhibit 18, DM N° 000810 (June 13, 2020).8



   8
    Venezuela also protested contemporaneously to INTERPOL. In a June 15, 2020, letter to the
   INTERPOL Secretary General, the Venezuelan National Central Bureau (NCB) protested that


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          Likewise, on June 14, 2020, Venezuela’s Embassy in Senegal, which is also accredited to
   Cape Verde, advised the Cape Verde Ministry of Foreign Affairs, Communities and Defense that
   Mr. Saab was illegally detained and that he enjoys immunity as Venezuela’s diplomatic agent. See
   Exhibit 19, No. 00277/2020 (June 14, 2020) (stating that “we wish to confirm that Mr. Saab enjoys
   immunity in international law, since he acts as an agent of the Government of the Bolivarian
   Republic of Venezuela.”).
          For his own part, Mr. Saab raised his diplomatic status in the Cape Verdean courts from
   the outset. As the Court of the Judicial District of Sal, Cape Verde, observed on June 14, 2020,
   Mr. Saab “came on a plane from Venezuela bound for Iran. He confirmed that he was in the country
   only in passing and that he was traveling as a diplomatic agent of the Bolivarian Republic of
   Venezuela.” See Pinto Decl. Ex. A at 2. Likewise, the Barlavento Court in Mindelo, Cape Verde
   observed in a decision dated June 18, 2020, that Mr. Saab when arrested confirmed “that he was
   traveling as a representative of the Government of Venezuela . . . on his way to Iran to get essential
   goods for the Government of Venezuela.” See ECF No. 24-2 at *9 (June 18, 2020).9
          This is consistent with Mr. Saab’s legal petitions in Cape Verde including a habeas corpus
   petition dated June 17, 2020, in which Mr. Saab, through counsel, asserted that he was traveling
   from Caracas to Tehran on a special mission, accepted by the Islamic Republic of Iran. See Pinto
   Decl. Ex. B ¶ 3. That petition further cited Mr. Saab’s April 9, 2018, appointment as Special Envoy
   authorized to find solutions to situations affecting the welfare of Venezuela. Id. ¶ 6.
          Venezuela, and Mr. Saab, have continued to press his immunity. On July 1, 2020, Mr. Saab
   received correspondence from the Ministry of People’s Power for External Relations instructing
   that, “given [his] position as Special Representative” he must resist extradition to the United States.
   See Exhibit 20, DM N° 000860 (July 1, 2020).
          On September 25, 2020, Minister Arreaza again wrote to Cape Verde Minister Tavares:




   “NCB of Venezuela stresses that Mr. Alex Nain SAAB MORÁN is currently acting as
   representative of the Government of the Bolivarian Republic of Venezuela, which grants him
   immunity, in accordance with international law and with the principles of common law.” See supra
   n.7, Ex. 9, ¶¶ 3-4, 12 (June 15, 2020).
   9
     The Court of Justice of the Economic Community of West African States (ECOWAS) issued a
   judgment on March 15, 2021, holding that Cape Verde’s arrest of Mr. Saab was illegal and
   “violated [his] human right to personal liberty” and likewise that his continued detention was an
   ongoing violation. See ECF No. 43-1 at 91.

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          On 9 April 2018, Mr. Alex Nain Saab Morán was nominated as Special Envoy to
          the Bolivarian Republic of Venezuela in humanitarian matters and in particular as
          Envoy to the Islamic Republic of Iran, in accordance with Venezuelan legislation
          and international law. The objective of his special mission was to obtain medical
          supplies, food and fuel to meet the needs of the people, within the context of the
          worsening of the situation due to the Covid-19 pandemic.

          To carry out his Mission, under orders issued by the Venezuelan National
          Executive, on 12 June 2020 the plane that was carrying him needed to refuel in
          Cape Verde in order to continue its journey. At that point, Special Envoy Alex Nain
          Saab was arrested by the Cape Verdean authorities, who alleged that the United
          States of America had issued an extradition request. We have sent numerous official
          communications from this Ministry of Foreign Affairs and from the Embassy of the
          Bolivarian Republic of Venezuela to Cape Verde to the competent Cape Verdean
          authorities explaining that Special Envoy Alex N. Saab enjoys sovereign and
          diplomatic immunity, both in his capacity as Special Envoy and under international
          and common law.
                                            *      *       *
          Considering the historically good relationship between Cape Verde and Venezuela,
          I respectfully request that the competent authorities respect the position of Special
          Envoy Alex Saab as a diplomatic representative, under Government orders, through
          this Ministry of Foreign Affairs, to immediately continue with his activities in the
          service of the Republic, so that the humanitarian mission is not completely
          paralyzed, causing suffering to the Venezuelan people and damage to the Country.
   See Exhibit 21, DM N° 001158 (Sept. 25, 2020).
          Likewise, on March 15, 2021, Minister Arreaza issued a Minister’s Dispatch to the Cape
   Verde Deputy Prime Minister and Minister of Regional Integration, Foreign and Community
   Relations, and Defense requesting that Cape Verde comply with the ECOWAS judgment that
   ordered the authorities of Cape Verde to release Mr. Saab and terminate the extradition process.
   See Exhibit 22, DM N° 000269 (Mar. 15, 2021). Minister Arreaza repeated this request by
   Minister’s Dispatch dated March 19, 2021, stating:
          [T]he State of Venezuela intends to exercise its diplomatic protection prerogatives
          and bring before the State of Cape Verde the case of one of its citizens, Mr. Alex
          Saab, who has been arbitrarily detained . . . [T]he arrest and detention of Mr. Saab
          on 12th June at Amílcar Cabral airport, on the Island of Sal (Cape Verde), and his
          continued detention since that date, are illegitimate and arbitrary, and violate Mr.
          Saab’s right to personal freedom . . . the State of Venezuela requests full
          collaboration of the State of Cape Verde to guarantee the absolute and total
          execution of the judgment of the Court of Justice of ECOWAS dated 15th March
          2021 . . . Likewise, it also requests the State of Cape Verde to take all necessary
          measures to put an end to the violations found by the Court of Justice, in


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          guaranteeing the full application of the judgment of the ECOWAS Court of Justice
          dated 15th March 2021, to release Mr. Saab and fully guarantee his freedom of
          movement, including his right to leave the territory of Cape Verde, and to cancel
          all extradition procedures that pertain to him.

   See Exhibit 23, DM No. 000323 (Mar. 19, 2021).
          And by Minister’s Dispatch dated August 3, 2021, Minister Arreaza wrote to the Cape
   Verde Minister of Foreign Business, Cooperation and Regional Integration requesting a dialogue
   and, inter alia, “reiterating to the Government of Cape Verde our strongest and most emphatic
   condemnation and opposition to the treatment granted to the case of the Venezuelan citizen and
   diplomat Special Envoy Alex Saab” and “its demand for the immediate and unconditional release
   of Special Envoy Saab.” See Exhibit 24, DM No. 000711 (Aug. 3, 2021, as transmitted by the
   Venezuelan embassy in Senegal on Aug. 5, 2021).10
          Venezuela has also protested directly to the United States. The Venezuelan Ministry of
   People’s Power for External Relations addressed the U.S. Department of State by Minister’s
   Dispatch dated October 22, 2021, confirming that Venezuela had designated Mr. Saab as a Special
   Envoy, by credential dated April 9, 2018, with broad powers for commercial and humanitarian
   procurement of goods. See Exhibit 25, DM N° 000170 (Oct. 22, 2021).
          The following day the Venezuelan Ministry of People’s Power for External Relations
   advised the Department of State by Minister’s Dispatch that Mr. Saab had, on September 14, 2021,
   been incorporated as a member of the Venezuelan delegation in the dialogue in Mexico City
   between the Government of Venezuela and the Unitary Platform of Venezuela. See Exhibit 26,
   DM N° 000171 (Oct. 23, 2021). In that Dispatch, Venezuela also advised the Department of State
   that Mr. Saab is a member of the National Round Table on Social Care and demanded “respect for
   the diplomatic immunity and inviolability, and the immediate release of Ambassador Alex Nain
   Saab Moran.” Id.
          Venezuela also communicated Mr. Saab’s diplomatic status to the Department of Justice.
   By Minister’s Dispatch dated March 21, 2022, the Venezuelan Ministry of Popular Power for



   10
      Ultimately, Cape Verde assented to Mr. Saab’s extradition, albeit without a judicial
   determination of his right to diplomatic immunity. Importantly, in a tacit acknowledgment of his
   position, Cape Verde did issue diplomatic visas to Mr. Saab’s family to enable them to visit while
   he was detained. Those diplomatic visas were based on diplomatic passports held by his family on
   the basis of his status.

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   Foreign Affairs confirmed to the Department of Justice that Venezuela had designated Mr. Saab
   as a Special Envoy, by credential dated April 9, 2018, with broad powers for commercial and
   humanitarian procurement of goods. See Exhibit 27, DM No. 000187 (Mar. 21, 2022).
                  2.      Iran
          As the “receiving” State, to which Mr. Saab is accredited, Iran has also confirmed his
   diplomatic status, both before and following his travel in June 2020. See, e.g., Exs. 2, 6, 7, supra.
   In addition, after Mr. Saab’s detention in Cape Verde, Iran repeatedly affirmed that it had assented
   to receive him as a Venezuelan Special Envoy. On January 27, 2021, the Iranian Embassy in Dakar,
   Senegal confirmed to the Cape Verde Ministry for Foreign Affairs and Communities and the Cape
   Verdean Embassy that “Mr. Alex Saab, Special Envoy of the Bolivarian Government of Venezuela
   . . . is considered . . . an official figure by the Government of the Islamic Republic of Iran. . . .”
   See Exhibits 28, No. 3436, 3438 (Jan. 27, 2021).
          The Embassy of Iran in Dakar also wrote to the Cape Verde Ministry of Foreign Affairs
   and Communities on May 12, 2021:
          We again reaffirm that according to the information available, Mr. Alex Saab had
          been appointed Special Envoy of the Bolivarian Republic of Venezuela and had
          been tasked with sourcing the human resources necessary for the Venezuelan
          people and to negotiate with companies from the Islamic Republic of Iran in this
          regard. On this basis, he was expected to hold meetings and official engagements
          with the ministers of oil, industry and health of the Islamic Republic of Iran and to
          negotiate the purchase of legitimate and humanitarian items, particularly
          medicines, food and fuel. Consequently, he is considered by the Government of the
          Islamic Republic of Iran as an official figure and special envoy of the Bolivarian
          Republic of Venezuela.
                                             *       *       *
          The Islamic Republic of Iran is of the conviction that Mr. Saab, in his capacity as
          Special Envoy of the Venezuelan Government, was on a special mission and that
          the Iranian authorities were awaiting his arrival in Iran to initiate bilateral
          cooperation. In order to go about his mission, he only crossed the territory of Cape
          Verde for technical reasons as he was still in the process of pursuing his mission.
   See Exhibit 29, No. 3584/05/AID (May 12, 2021).
          And on August 6, 2021, the Embassy of Iran in Dakar sent a Note Verbale to the Embassy
   of Cape Verde in Dakar as “Amicus Curiae” confirming:
          x   “According to all available information, Mr. Alex Saab was appointed Special Envoy
              of the Government of the Bolivarian Republic of Venezuela. . . . Consequently, he was
              to hold official meetings with the Ministers for Oil, Industry and Healthcare in the


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               Islamic Republic of Iran and to discuss the purchase of legal and humanitarian articles,
               notably medication, foodstuffs and fuel.”

          x    “Mr. Alex Saab was arrested on 12th June 2020 at the airport on Sal Island in the
               Republic of Cape Verde when his plane had landed to refuel en route towards the
               Islamic Republic of Iran, whilst however benefitting from special diplomatic immunity
               when travelling through a third country as Special Envoy of Venezuela.”

          x    “Whilst the Iranian authorities were expecting the arrival of Mr. Alex Saab in Iran for
               his bilateral cooperation assignment, the infringement of his diplomatic immunity in
               Cape Verde has disturbed cooperation and international relations between the two
               countries, which has had unacceptable consequences.”

          x    “Consequently, the Islamic Republic of Iran calls upon the Government of Cape Verde
               to take all necessary measures so as to draw the attention of its official authorities to
               the inalienable principles of international law in this regard, and given the immunity of
               Mr. Alex Saab as special envoy on a vital diplomatic mission, by favoring dialogue and
               other means to immediately resolve this dispute and in a peaceful manner.”

   See Exhibit 30, Note No. 3710/08/AID (Aug. 6, 2021).
          F.      Observation of Mr. Saab’s Status in the Context of the United Nations
          United Nations personnel have also recognized Mr. Saab’s status. In early 2021, the UN
   Special Rapporteur on the “negative impact of the unilateral coercive measures on the enjoyment
   of human rights” traveled to Venezuela to assess the impact of sanctions on the human rights of
   Venezuelans. Thereafter, she issued a Report dated October 4, 2021, to the U.N. General Assembly
   in which (at 15, ¶ 88) she states:
          The Special Rapporteur also expresses concern about the request for the extradition
          of Alex Saab Morán, the Permanent Representative ad interim of the Bolivarian
          Republic of Venezuela to the African Union. Mr. Morán, who . . . was arrested in
          Cape Verde in 2020 during the refuelling of an airplane on which he was travelling
          and has been detained since, in flagrant violation of diplomatic immunities and
          without any clear charges. Repeated requests from international organizations and
          institutions for his release have been ignored.
   A/HRC/48/59/Add.2, United Nations Human Rights Office of the High Commissioner (emphasis
   added).11 Notably, in referring to the “repeated requests . . . that have been ignored,” the Special
   Rapporteur cited a detailed United Nations letter, pursuant to Human Rights Committee




   11
      https://www.ohchr.org/en/documents/country-reports/ahrc4859add2-visit-bolivarian-republic-
   venezuela-report-special

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   resolutions, which “express[ed] our serious misgivings as to the allegations of arbitrary arrest,
   detention and extradition against Ambassador Saab.” See AL CPV 2/2021 (July 19, 2021).12
          This is consistent with statements made by Venezuela to United Nations bodies, including
   a recent speech by President Maduro at the 49th Ordinary Session of the Human Rights Council:
   “Ambassador Alex Saab was illegally abducted in June 2020 in Cabo Verde, when he was taking
   part in an official mission to bring and food and medicines to Venezuela . . . His diplomatic
   immunity, his human rights, and his own physical integrity were cruelly and systematically
   violated.” See https://media.un.org/en/asset/k1z/k1zlvemxg8 (beginning at 8:34).
          G.        Observation of Mr. Saab’s Status by United States Officials
          The Trump Administration took several concrete steps to effect “regime change” in
   Venezuela, including harsh economic sanctions. Former Trump Administration officials have been
   clear about this, including the recent publication of A Sacred Oath: Memoirs of a Secretary of
   Defense During Extraordinary Times (2022), wherein former Defense Secretary Mark T. Esper
   details how “[b]eginning in March 2020, the NSC put Venezuela back on the interagency table for
   discussion” including the possibility of U.S. military action “to cut off Caracas’s access to goods
   and cash.” ECF No. 123-3 at 303. Actions against Venezuela included “interdicting ships that are
   carrying Venezuelan oil. . . .” Id. Specifically, in May 2020, the U.S. government became aware
   that Venezuela had begun trading its gold for Iranian oil, since Venezuela lacked current ability to
   refine (and thus use) its own oil. Id. at 318-19. In this oil-for-gold exchange between Iran and
   Venezuela, moreover, the U.S. understood that “approximately nine tons of gold valued at around
   half a billion dollars was payment for Iran’s help in repairing Venezuela’s refineries and providing
   gas additives.” Id. at 319. The oil-for-gold diplomatic exchange between the two countries was
   mutually beneficial. Due to sanctions and the reduced demand for oil precipitated by the COVID-
   19 pandemic, “Tehran was looking for new sources of revenue.” Id. Venezuelan gold provided
   that revenue. In return for its gold, Venezuela received gasoline from Iran, alleviating the “[l]ong
   lines at gas stations” that were “provoking daily protests” and other potential violence in
   Venezuela. Id.




   12
    https://spcommreports.ohchr.org/TMResultsBase/
   DownLoadPublicCommunicationFile?gId=26527

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          As former Secretary Esper observes, the highest levels of the Trump Administration
   considered a variety of options, including military intervention, to stop the oil-for-gold exchange.
   More pertinent to Mr. Saab, however, is the observation that “[a]t Maduro’s direction, Saab was
   reportedly on a special mission to negotiate a deal with Iran for Venezuela to receive more fuel,
   food and medical supplies.” Id. at 327. Esper understood that “Saab was Maduro’s long-standing
   point man when it came to crafting the economic deals and other transactions that were keeping
   the regime afloat.” Id.
          As noted above, disclosure by the government evidences knowledge, prior to Mr. Saab’s
   June 2020 travel, of the “oil-for-gold” diplomatic exchanges between Venezuela and Iran. See Ex.
   12. The U.S. intelligence and law enforcement communities were well aware of the “oil-for-gold”
   program, in which Mr. Saab served as Special Envoy.13 See also Exs. 15, 16, supra.
          Moreover, on June 11, 2020, Elliott Abrams, U.S. Special Representative for Venezuela,
   wrote to a Deputy Assistant Attorney General whose portfolio included overseeing the OIA and
   serving as Counselor for Internal Affairs (“DAAG – International”) and State Department Special
   Representative for Iran, Brian Hook, stating that “Sec. Pompeo wants to talk about Alex Saab, who
   is brokering the Iran/VZ deals, next week at podium.” Exhibit 31 (emphasis added). Even before
   then, government personnel recognized on May 8, 2020, that “Alex Saab is linked to the exchange
   of Venezuelan gold for refinery repair, according to sources quoted by Bloomberg . . . Saab helped
   negotiate the Iran deal with Maduro’s new Oil Minister . . . [t]he two had previously worked
   together to strengthen Venezuela’s relationship with Turkey.” Exhibit 32.14 Sources quoted by the
   employee also observed that Mr. Saab “traveled to Tehran last month” and that “U.S. authorities
   consider [him] one of the most powerful men supporting Nicolas Maduro’s regime.” Id. Also
   before Mr. Saab’s arrest, on June 4, 2020, in a 28-page email/attachment (each page fully redacted)
   “REDACTED” provided to “REDACTED” a “Designation_Evidentiary.doc” that apparently



   13
      Indeed, the Department of Justice seized four tankers carrying Iranian oil to Venezuela in August
   2020, an effort involving extensive cooperation by Homeland Security, the FBI, and DOJ. See
   Press Release, U.S. Dep’t of Just., Largest U.S. Seizure of Iranian Fuel from Four Tankers (Aug.
   14, 2020), available at https://www.justice.gov/opa/pr/largest-us-seizure-iranian-fuel-four-
   tankers.
   14
      This is a fourteen-page document designated as “State_08,” with all but one paragraph redacted.
   The recipient and subject are also withheld, see ECF No. 146-7, making it impossible to assess the
   context of this email sent more than a month before Mr. Saab’s arrest.

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   “references Saab as involved in brokering sale of PDVSA crude oil and being sent to Iran by
   Maduro to negotiate purchase of gasoline per sources and public reporting.” See ECF No. 146-7
   (entry 7).
           Continuing after Mr. Saab’s arrest, U.S. Government officials—including Secretary
   Pompeo—remained acutely aware of Mr. Saab’s diplomatic status. On Sunday, June 14, 2020, at
   5:00 pm, Mr. Abrams, sent an email to the DAAG – International, with a simple subject line
   “Saab”: “Tidbits about Saab below: he seems to have Antiguan and Dominican passports, perhaps
   dip passports, as well as Colombian and Venezuelan.” Exhibit 33. Mr. Abrams then continued,
   “Sec Pompeo wonders if we can argue that his Venezuelan dip passport is illicit because awarded
   by criminals not President Guaido . . .” Id. (emphasis added). However, Secretary Pompeo also
   apparently acknowledged the legal deficiency in this argument respective to events—such as Mr.
   Saab’s April 2018 appointment—that occurred during the recognition of Maduro.
           In another instance, a reporter for the New York Times reached out to a State Department
   Press Officer with questions related to the USS San Jacinto that was on station near Cape Verde.
   Exhibit 34. Cf. ECF No. 123 at 16. The Press Officer then passed this information along, observing
   that the reporter already had “a good amount” of information “presumably from DoD,” and that
   Special Representative Abrams would speak to the reporter to “guide his story and give the
   background on Saab and his role in the Maduro organization.” Id. Crucially, Special
   Representative Abrams was “VERY aware of DOJ concerns.” Id. Later in the chain, the Press
   Officer sought approval for use of a quote, attributed to Special Representative Abrams, that “Saab
   is one of the two most important money guys in the Maduro government, and he’s the middle man
   with Iran.” Id.
           As the evidence adduced in discovery irrefutably shows, the government was well aware
   of Mr. Saab’s diplomatic activities as a Special Envoy on behalf of Venezuela. It knew that he was
   working on behalf of Venezuela to exchange that country’s natural resources—oil and gold—for
   basic supplies such as refined gasoline, medical supplies and food. It knew, in particular, that Mr.
   Saab’s journey from Venezuela to Iran on June 12, 2020—during the height of the COVID-19




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   pandemic—was in furtherance of Mr. Saab’s diplomatic negotiations with Iran to obtain these
   humanitarian supplies on behalf of the Venezuelan people.
                                         LEGAL STANDARD
          The DRA provides: “[a]ny action or proceeding brought against an individual who is
   entitled to immunity with respect to such action or proceeding under the Vienna Convention on
   Diplomatic Relations, under section 254b or 254c of this title, or under any other laws extending
   diplomatic privileges and immunities, shall be dismissed.” 22 U.S.C. § 254d. “Such immunity may
   be established upon motion or suggestion by or on behalf of the individual, or as otherwise
   permitted by law or applicable rules of procedure.” Id. Because diplomatic immunity deprives
   federal courts of subject matter jurisdiction, courts have “an affirmative obligation to consider”
   assertions of immunity and their factual bases. United States v. Al Sharaf, 183 F. Supp. 3d 45, 47,
   49 (D.D.C. 2016) (reviewing facts outside the indictment to adjudicate assertion of immunity).
          Principles of diplomatic immunity under both domestic and international law must be given
   a “broad and liberal interpretation” by courts. United States v. Rosal, 191 F. Supp. 663, 664
   (S.D.N.Y. 1960); accord United States v. Melekh, 190 F. Supp. 67, 89 (S.D.N.Y. 1960). This is
   necessary to effectuate the purpose of diplomatic immunity itself. As explained by former
   Secretary of State Elihu Root, “[t]he reason of the immunity of diplomatic agents is clear, namely:
   that Governments may not be hampered in their foreign relations by the arrest or forcible
   prevention of the exercise of a duty in the person of a governmental agent or representative.” Letter
   from U.S. Sec’y of State to U.S. Sec’y of Commerce (Mar. 16, 1906), in 4 Digest of Int’l Law
   513-14 (Green Haywood Hackworth ed. 1942) (“Hackworth”) (see Exhibit 41, infra).
                                             ARGUMENT
          Mr. Saab is a diplomatic agent of Venezuela who was, and remains, on mission to Iran. As
   such, he is entitled to immunity—from arrest, detention, and other actions impeding his mission—
   under the VCDR, customary international law, and the DRA.15 As detailed below, the United



   15
     The DRA binds federal courts to apply the VCDR. See Abdulaziz v. Metropolitan Dade County,
   741 F.2d 1328, 1330 (11th Cir. 1984) (“The controlling statute on diplomatic immunity is the
   Diplomatic Relations Act of 1978, which incorporated the 1961 Vienna Convention on Diplomatic
   Relations.”). The Convention also “codified longstanding principles of customary international
   law with respect to diplomatic relations,” Broidy Cap. Mgmt. LLC v. Benomar, 944 F.3d 436, 441
   (2d Cir. 2019) (quoting 767 Third Ave. Assocs. v. Permanent Mission of the Republic of Zaire to


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   States’ obligation to honor Mr. Saab’s immunity is not a policy matter. It is required by binding
   legal obligations that cannot be evaded or avoided because the United States does not recognize
   Nicolás Maduro as Venezuela’s president or the “Maduro regime,” a term the government has not
   defined.
          A.      The VCDR and DRA Guarantee Mr. Saab’s Diplomatic Immunity
                  1.      As a Special Envoy, Mr. Saab is a Protected Diplomatic Agent
          Under the Eleventh Circuit’s analysis in Abdulaziz a Special Envoy like Mr. Saab qualifies
   as a “diplomatic agent” who “shall not be liable to any form of arrest or detention” under the
   VCDR. 23 U.S.T. at 3240, Art. 29; see also id., Art. 31. That case involved claims brought against
   a Saudi prince who was designated a “special envoy” during the litigation, but was not attached to
   Saudi Arabia’s permanent embassy in the United States. Finding this designation dispositive, the
   court reasoned that “[t]he broadness in the language of the Vienna Convention is necessary, since
   it is the foreign country that actually ranks its envoys, not the State Department.” 741 F.3d at 1331.
   (emphasis added) The court also noted that “Article 14 of the Vienna Convention classifies
   ‘envoys’ as Heads of Missions” and that “Heads of Missions are defined in § 254a of the
   Diplomatic Relations Act, and are protected by the Act.” Id.; see 22 U.S.C. § 254a(1)(A). On that
   basis, the court found immunity and affirmed dismissal of the claims.
          Abdulaziz controls here and demands dismissal for the same reasons. Mr. Saab’s status as
   a “special envoy,” rather than a permanent diplomatic representative, does not disqualify him from
   diplomatic-agent status. The Abdulaziz Court flatly rejected the argument that a defendant’s
   “classification as ‘special envoy’ is not protected by the [DRA].” 741 F.2d at 1331. See also United
   States v. Khobragade, 15 F. Supp. 3d 383, 388 (S.D.N.Y. 2014) (noting that “Abdulaziz is
   persuasive precedent given that the standard for dismissing criminal and civil cases based on
   diplomatic immunity is the same.” (footnote omitted)).
          In addition, “the Vienna Convention premises diplomatic immunity upon recognition by
   the receiving state, which requires notification from the sending state.” Ali v. Dist. Dir., Miami
   Dist., U.S. CIS, 743 F. App’x 354, 358 (11th Cir. 2018) (internal edits and quotation marks
   omitted). Both elements are met here. Venezuela’s then-foreign minister, Mr. Jorge Arreaza


   the United Nations, 988 F.2d 295, 300 (2d Cir. 1993)), and binds even non-signatories. Swarna v.
   Al-Awadi, 622 F.3d 123, 135 (2d Cir. 2010); United States v. Enger, 472 F. Supp. 490, 505 (D.N.J.
   1978). Immunity therefore bars this case on its own force, with or without the DRA.

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   Montserrat, appointed Mr. Saab as Special Envoy in April 2018, conferring on him “broad powers
   to take steps on behalf of the Bolivarian Republic of Venezuela aimed at guaranteeing the
   commercial and humanitarian procurement of basic necessities for social assistance programmes
   of the national Executive . . . .” See Gonzalez Decl. Ex. A.16
                  2.      The Government Cannot Establish that Mr. Saab was not a Diplomat
          In 2020, Mr. Saab was charged as Special Envoy with undertaking additional missions to
   Iran designed to obtain economic and humanitarian assistance needed due to the Covid-19
   pandemic and harsh U.S. sanctions against Venezuela. Specifically, Mr. Saab undertook and
   successfully completed missions to Iran in March and April of 2020 and was on his way in June
   for his third mission when he was detained in Cape Verde. See Ex. 3 (April 1, 2020).
          In connection with his missions, Mr. Saab was accredited to Ayatollah Ali Khamenei,
   Supreme Leader of the Islamic Republic of Iran, and carried numerous letters asking for Iranian
   assistance and documenting various agreements between Iran and Venezuela that he negotiated
   and helped to implement. See Mandl Decl. Exs. A-C. Iran, in turn, approved the missions and
   facilitated, through the Iranian Embassy in Caracas, Mr. Saab’s meetings with senior Iranian
   officials. See Ex. 7. See also Ex. 12 (“[O]n June 12, 2020, DEA was able to corroborate that an
   Iranian delegation toured a Venezuelan owned gold mine with Saab-Moran . . .”). Mr. Saab
   qualifies as a diplomatic agent under the VCDR because he was recognized as such by Venezuela
   and Iran.
          The government has never afforded this or any Court a basis to disagree with this
   conclusion. Although it persuaded the Eleventh Circuit to remand this case for further record
   development, Saab Moran, 2022 WL 1297807, at *2, the government has yet to cite the factual
   basis for claiming that Mr. Saab was not Venezuela’s Special Envoy at all relevant times.
   Additionally, the record now confirms that Venezuela asserted immunity as to Mr. Saab through
   diplomatic channels to the United States. See Exs. 25, 26, 27. Because diplomatic immunity
   “belongs to the foreign state,” Aquamar, S.A. v. Del Monte Fresh Produce N.A., Inc., 179 F.3d




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      Thus Mr. Saab’s appointment predated U.S. “de-recognition” of Maduro (January 23, 2019),
   and that appointment remains in full force and effect. See Koch Minerals Sari v. Venezuela, 514
   F. Supp. 3d 20, 37 (D.D.C. 2020) (recognizing that service made on Venezuela’s ministry of
   foreign affairs before January 23, 2019, remained valid afterwards).

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   1279, 1296 n.41 (11th Cir. 1999), neither the government nor a federal court can disagree with
   Venezuela’s choice of diplomatic agents to third countries.
          The record also confirms that Mr. Saab himself asserted his immunity at all relevant times,
   as he is entitled to do. See United States v. Al Sharaf, 183 F. Supp. 3d 45, 51 (D.D.C. 2016)
   (discussing 22 U.S.C. § 254d). Moreover, the record confirms that the government knew Mr. Saab
   was a diplomat when it arranged his arrest: it knew he was travelling to Iran for diplomatic
   purposes and that he was negotiating a gasoline-for-gold exchange. The record supports no
   conclusion other than that Mr. Saab is Venezuela’s diplomatic agent.
          B.      Customary International Law Also Guarantees Mr. Saab’s Diplomatic
                  Immunity
          Mr. Saab is independently entitled to immunity under customary international law. As the
   United Nations Secretariat explained, quoted in Michael Wood, “The Immunity of Official
   Visitors,” 16 Max Planck UNYB 35, 40 (2012): “[t]he custom of sending a special envoy on
   mission from one State to another, in order to mark the dignity or importance of a particular
   occasion, is probably the oldest of all means by which diplomatic relations may be conducted.’”
   Indeed, in the early United States, special envoys were common, if not the predominant, diplomatic
   agents dispatched by Presidents to handle the Nation’s interactions with foreign states. See Ryan
   M. Scolville, “Ad Hoc Diplomats,” 68 Duke L.J. 907, 956-980 (2019) (examining the frequent and
   continuing use of special envoys by American Presidents from Washington to Trump). As the
   world’s preeminent military and diplomatic power, the U.S. routinely employs numerous Special
   Envoys to undertake country-, region-, and issue-specific assignments, supplementing its cadre of
   regular ambassadors. See CRS State Department Special Envoy, Representative, and Coordinator
   Positions: The Background and Congressional Actions at 6-8 (Sept. 15, 2017), available at
   https://sgp.fas.org/crs/row/R44946.pdf.17
          The customary international law immunity of Special Envoys also has been recognized in
   a United Nations-sponsored Convention on Special Missions (“UNCSM”), Dec. 8, 1969, G.A.



   17
     One recent example of a United States mission headed by a Special Envoy is the ill-fated mission
   to Benghazi, Libya, initially headed by J. Christopher Stevens as Special Envoy, before his later
   appointment as ambassador. See United States v. Abu Khatallah, 151 F. Supp. 3d 116, 121 (D.D.C.
   2015). By way of further example, John Kerry was appointed by President Biden as a Special
   Presidential Envoy for climate, Bill Richardson served as a Special Envoy under President Clinton
   on numerous sensitive missions, and so on.

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   Res. 2530, 24 U.N. GAOR Supp. No. 30, at 99 et seq., which recognizes that “persons of the
   representatives of the sending State in the special mission and of the members of its diplomatic
   staff shall be inviolable. They shall not be liable to any form of arrest or detention” and are immune
   “from criminal jurisdiction of the receiving State.” Id. at 102, Art. 29, 103, Art. 31. Although the
   United States has not ratified this treaty, as the Court of Appeal of England and Wales (Civil
   Division) recently held, the UNCSM codifies the “core” immunities of “personal inviolability (that
   is, freedom from arrest or detention)” for diplomats on special missions. R. (on the application of
   Freedom and Justice Party) v. Secretary of State for Foreign and Commonwealth Affairs, [2018]
   EWCA Civ 1719, [5], 2018 WL 03459145 (“FJP”).
           The courts there (both the Court of Appeal and Divisional Court) recognized the immunity
   of an Egyptian official, allegedly responsible for atrocities committed during a 2013 coup, who
   planned a special mission to the United Kingdom. The Court of Appeal explained that “a rule of
   customary international law has been identified which now obliges a state to grant to the members
   of a special mission, which the state accepts and recognizes as such, immunity from arrest or
   detention (i.e., personal inviolability).” Id. at [136].
           The British courts reached this conclusion partially based on United States practice and, in
   particular, the 2007 statement of Department of State Legal Advisor John B. Bellinger III that
   “special mission immunity” should “be accorded to foreign officials” because it is “grounded in
   customary international law” and recognized in United States judicial precedents. R (on the
   application of Hamed) and Others v. Secretary of State For Foreign and Commonwealth Affairs
   and Others, [2016] EWHC 2010 (Admin) [127] (quoting John B. Bellinger III, Immunities,
   OpinioJuris (Jan. 18, 2007), http://opiniojuris.org/2007/01/18/immunities/); see also FJP, EWCA
   Civ 1719, at [32] (approving the Divisional Court’s reliance on this statement). See also Wood,
   supra, at 72-73 (concluding that customary law provides special missions with “immunity from
   criminal jurisdiction and inviolability of the person.”).
           Accordingly, Mr. Saab is also entitled to immunity as a Special Envoy and Head of Mission
   under customary international law, which is equally binding on the United States. See, e.g., Sosa
   v. Alvarez-Machain, 542 U.S. 692 (2004) (“For two centuries we have affirmed that the domestic
   law of the United States recognizes the law of nations.”); Enger, 472 F. Supp. at 504 (“The United
   States has long recognized the responsibilities imposed upon individual nations by force of
   international custom and treats the Law of Nations as the law of the land.”).


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             C.     U.S. Denial That Maduro is Venezuela’s President does not Deprive Saab of
                    Immunity
                    1.      States Cannot Avoid Treaty Obligations Based on Foreign Policy Choices
             The United States’ refusal to recognize Nicolás Maduro as Venezuela’s president is wholly
   insufficient to deny Mr. Saab’s diplomatic status and entitlement to immunity. As the Supreme
   Court recognized in In re Baiz, 135 U.S. 403 (1890), the President’s constitutional power to
   “receive ambassadors and other public ministers,” U.S. Const. Art. II, § 3, is a power of diplomatic
   recognition that extends to diplomats “accredited by the United States to a foreign power or by a
   foreign power to the United States” but no further. 135 U.S. at 419. Mr. Saab was accredited to
   Iran, not to the United States. Moreover, as explained in the foundational treatise Satow’s
   Diplomatic Practice 288-289 (7th ed. 2018), “[a] diplomatic agent is entitled to the[] limited
   immunities [of inviolability and in transitu immunity] irrespective of the relations between his
   sending and receiving State on the one hand and the third State on the other.”
             Notably, the VCDR’s text does not contemplate that a state-party can ignore its obligations
   to other states parties because of foreign policy or political differences, or even upon a complete
   break in diplomatic relations. Nor does it suggest that, so long as two state parties (as sending and
   receiving states) recognize an individual as a diplomatic agent, that individual can be deprived of
   immunity because a third state does not recognize the government of one or both.
             In fact, under both customary international law and treaty, neither a treaty partner’s change
   in government, nor a break in diplomatic relations, relieves a state of its legal obligations to that
   partner. As stated in a leading treatise, “[a]s treaties are binding upon the contracting states,
   changes in the government, or even in the form of government, of one of the parties do not, as a
   rule, affect the binding force of treaties.” 1 Oppenheim’s International Law, part II, at § 623, p.
   1253 (9th ed. 1996).18 This is consistent with the Supreme Court’s holding in The Sapphire, 78
   U.S. (11 Wall.) 164, 168 (1870), that a change in head-of-state (through the deposition of Napoleon
   III there) does not affect the rights of the relevant state (France) to continue a suit for damages in
   U.S. courts: “The reigning Emperor, or National Assembly, or other actual person or party in
   power, is but the agent and representative of the national sovereignty. A change in such
   representative works no change in the national sovereignty or its rights.” As another court noted:
   “Since the notable precedent of The Sapphire, the principle is firmly established in our courts that


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        Attached as Exhibit 35.

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   the rights and liabilities of a state are unaffected by a change either in the form or personnel of its
   government, however accomplished, whether by revolution or otherwise.” Agency of Canadian
   Car & Foundry Co. v. American Can Co., 253 F. 152, 157 (S.D.N.Y. 1918) (internal citation
   omitted), rev’d on other grounds, 258 F. 363 (2d Cir.1919). Accord Trans-Orient Marine Corp. v.
   Star Trading & Marine, Inc., 731 F. Supp. 619, 622-23 (S.D.N.Y. 1990) (citing cases).
           The principle that a change in government does not legally alter a state’s contractual rights
   and responsibilities is thus widely accepted. This rule necessarily extends to a state’s rights and
   responsibilities under a treaty which is a contract of much greater significance among nations. BG
   Grp, PLC v. Republic of Argentina, 572 U.S. 25, 37 (2014); Trans World Airlines, Inc. v. Franklin
   Mint Corp., 466 U.S. 243, 253 (1984); LLC SPC Stileks v. Republic of Moldova, 985 F.3d 871,
   879 (D.C. Cir. 2021). Thus, the basis for not allowing a mere regime change to vitiate treaty rights
   is even stronger.
           Accordingly, even if the United States no longer “recognizes” Nicolás Maduro as
   president, Venezuela undoubtedly continues to exist as a sovereign nation and the United States’
   obligations under the VCDR and the DRA to respect Mr. Saab’s immunity as Venezuela’s Special
   Envoy is unchanged. “No other doctrine is thinkable, at least among nations which have any
   conception of international honor.” Agency of Canadian Car & Foundry Co., 253 F. at 157.19
           The same rule applies to a break in diplomatic relations. As noted by a leading international
   law scholar and judge of the International Court of Justice: “[t]he following grounds in particular
   can never in themselves . . . justify [a state’s] repudiation of its obligations . . . (iii) By reason of
   the principle pacta sunt servanda (a) That there is a dispute or disagreement between the parties,
   or a state of strained relations, or that diplomatic relations have been broken off.” See G.G.




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      The government identified one contrary commentator, see Eileen Denza, Diplomatic Law 4E:
   Commentary on the Vienna Convention on Diplomatic Relations, at 371 (2016), who asserts that
   third party states will not regard themselves bound to respect the VCDR immunities of diplomats
   whose governments they do not recognize. She provides no authority for this claim and offers only
   the example of U.S. authorities refusing to recognize the diplomatic status of the Taliban’s former
   ambassador to Pakistan. But this situation was unique. The United States had never recognized the
   Taliban and the “diplomat” was expelled from Pakistan and handed over to U.S. or allied forces
   effectively functioning as the sending state’s (Afghanistan) government. Returning a diplomat to
   his sending state does not violate his immunity. It is impossible to draw any general principles
   from this example. Denza also does not consider the treaty rights of a receiving state.

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   Fitzmaurice, Special Rapporteur, Second Report on the Law of Treaties, Doc. A/AN.4/107,
   (Extract) Yearbook of the International Law Comm., 1957, vol. II, at 23.
           This fundamental principle was incorporated into the Vienna Convention on the Law of
   Treaties, 1155 U.N.T.S. 331 (1969) (“VCLT”), at Art. 63, which provides that “[t]he severance of
   diplomatic or consular relations between parties to a treaty does not affect the legal relations
   established between them by the treaty except insofar as the existence of diplomatic or consular
   relations is indispensable for the application of the treaty.”20 Significantly, a proposal made during
   the treaty negotiations to exclude the VCDR from this rule was flatly rejected. See Olivier Corten
   & Pierre Klein, 1 The Vienna Convention on the Law of Treaties: A Commentary 1191, 1194
   (2011). “Ultimately, therefore, Art 63 excepts no treaty types. . . . Rather, all treaty types are treated
   alike: they are all covered by both the general rule and the [impossibility of performance]
   exception, provided that they meet the latter’s strict conditions.” Id. at 1194. It is not impossible
   for the United States to respect the immunities of Venezuelan diplomats accredited to third states
   regardless of the relations between the two countries.
           Thus, the United States has binding obligations under the VCDR, DRA, and customary
   law to respect Mr. Saab’s diplomatic immunity regardless of its position vis-à-vis Maduro. That
   immunity is based on his appointment as Special Envoy by Venezuela and the acceptance of that
   status by Iran. Both states were exercising their rights under the VCDR, and other treaty parties
   like the United States must respect that status so far as the treaty imposes obligations on third-
   party states—as it does, particularly with respect to the immunity of diplomats in transitu to and
   from their sending and receiving states, a form of immunity discussed at length below.
                   2.      The United States Continues to Recognize the Venezuelan Foreign Ministry
                           in Performing its Treaty Obligations
           The U.S.-Venezuela diplomatic relationship also is quite different from what the
   government suggests. The United States continues to recognize the government of Venezuela. It
   has taken the position that, because of an allegedly fraudulent election, President Maduro’s term
   of office ended in January 2019. It then recognized Juan Guaidó, President of the Venezuelan
   National Assembly, as Interim President of Venezuela because this is what the Venezuelan
   constitution requires upon a presidential vacancy. See Statement from Donald J. Trump


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      The United States has not ratified the VCLT but recognizes it as a statement of customary
   international law. See Aquamar, S.A., 179 F.3d at 1296 n.40.

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   Recognizing Venezuelan National Assembly President Juan Guaidó as the Interim President of
   Venezuela (Jan. 23, 2019), available at https://br.usembassy.gov/statement-from-president-trump-
   recognizing-juan-guaido-as-the-interim-president-of-venezuela/.
          President Trump’s statement also indicated that the National Assembly was “the only
   legitimate branch of government duly elected by the Venezuelan people,” but said nothing
   regarding other, non-elected elements of the Venezuelan government—including Venezuela’s
   ministry of foreign affairs (“MFA”). In fact, the United States continues to recognize that agency
   in carrying out its treaty obligations, as it did before action was taken against Nicolás Maduro.21
   Thus, in Uribe v. Luque, No. 8:21-cv-934, 2021 WL 3518154 (M.D. Fla. May 3, 2021), both the
   Department of State and the court accepted and implemented a request made by a Venezuelan
   national through the MFA, acting as “Central Authority” pursuant to the Hague Convention on the
   Civil Aspects of International Child Abduction, T.I.A.S. No. 11,670, 1343 U.N.T.S. 89 (Oct. 25,
   1980) (“Hague Child Abduction Convention”). See Zaoral v. Meza, No. H-20-1700, 2020 WL
   5036521, at *10 (S.D. Tex. Aug. 26, 2020) (noting Venezuela’s MFA is its Central Authority).
          Like a number of multi-lateral treaties, under the Hague Child Abduction Convention state
   parties “designate a Central Authority to discharge the duties which are imposed by the Convention
   on such authorities.” Art. 6. In particular, a Central Authority receives requests for assistance from
   individuals whose children have been abducted and forwards these to the Central Authority of the
   country where the child is believed to be present. Art. 8. That country must then “take or cause to
   be taken all appropriate measures in order to obtain the voluntary return of the child.” Art. 10.
   Failing such voluntary return, recourse may be had to the courts of the requested state for an order
   requiring the child’s return.




   21
     The U.S. also continues to negotiate with what it calls the Maduro “regime.” See Patricia Garip,
   Vivian Salama and Kejal Vyas, “U.S. Looks to Ease Venezuela Sanctions, Enabling Chevron to
   Pump Oil,” WSJ, Oct. 5, 2022. See also, Anatoly Kurmansev, Natalie Kitroeff and Kenneth P.
   Vogel, “U.S. Officials Travel to Venezuela, a Russian Ally, as the West Isolates Putin,” The N.Y.
   Times, Mar. 5, 2022. Most recently, in fact, the U.S. negotiated with the Maduro government for
   the release of several Americans held in Venezuela in exchange for Venezuelan nationals held in
   the United States. See AP, “Venezuela Releases 7 Jailed Americans in Prisoner Swap,” USA
   Today, World (Oct. 1, 2022) available at
   https://www.usatoday.com/story/news/world/2022/10/01/venezuela-releases-american-prisoners-
   swap-maduro-relatives/8153344001/.

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          In Uribe, the child’s mother absconded from Venezuela to Florida (in 2020), taking the
   child without the father’s consent. The father submitted a petition to the MFA, which was duly
   forwarded to the State Department as the U.S. Central Authority under the treaty. Clearly
   recognizing the MFA’s authority to invoke the United States’ treaty obligations, the State
   Department forwarded a letter (dated Feb. 9, 2021) to the child’s mother, asking whether she was
   willing to work with the father and other professionals “to facilitate the resolution of your family’s
   conflict without engaging in litigation.” See Exhibit 36.
          This Court properly took a similar approach in Isaac Indus., Inc. v. Petroquimica de
   Venezuela, S.A. et al., No. 19-23113-CIV-Scola/Goodman, 2022 WL 820376 (S.D. Fla. Mar. 1,
   2022), adopted by 2022 WL 1203004 (Apr. 22, 2022), which involved the Hague Convention on
   the Service Abroad of Judicial and Extrajudicial Documents, 20 U.S.T. 361 (Nov. 15, 1965)
   (“Hague Service Convention”), for which the MFA is also Venezuela’s Central Authority. Isaac
   Industries brought a contract claim against the Venezuelan national oil company (“PDVSA”),
   among others, and service was contested. The summons and complaint were first delivered to the
   MFA in September 2019, nine months after the United States’ action against Maduro. See Exhibit
   37.
          When plaintiffs moved for default, Judge Goodman held that service on the MFA was
   properly completed under Art. 15, ¶ 2 of the Hague Service Convention, see 2022 WL 820376 at
   *12, although he denied the motion because plaintiffs had failed to invoke the court’s jurisdiction
   under the Foreign Sovereign Immunities Act (“FSIA”). He recommended, however, that plaintiffs
   be given an opportunity to replead under FSIA, but that defendants should not “be permitted to
   challenge service of process since Plaintiff has met the requirements of Article 15, paragraph 2.”
   Id. at *14. The Court affirmed and adopted “Judge Goodman’s report and recommendations in its
   entirety,” prohibiting defendants “from re-asserting a challenge to service of process.” 2022 WL
   1203004, *1 (S.D. Fla. Apr. 22, 2022). See also Lindsayca USA, Inc. v. Petroleos de Venezuela,
   S.A., No. 4:21-cv-00037 (S.D. Tex. Aug. 22, 2022) (delivery of complaint and summons to Central
   Authority in Caracas (on Oct. 6, 2021), in addition to meeting the three requirements of Art. 15
   ¶ 2, properly effected service).
          Thus, the United States clearly continues to recognize the MFA as a legitimate organ of
   the Venezuelan government for purposes of meeting the treaty obligations both states have
   undertaken. And, as the United States continues to recognize the MFA for the purposes of


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   implementing the Hague Service Convention and the Hague Child Abduction Convention, there
   is no basis in law or logic to deny recognition of the MFA for purposes of implementing the
   VCDR’s provisions.
             D.     Mr. Saab’s Diplomatic Immunity Includes Personal Inviolability and In
                    Transitu Immunity from Arrest and Detention
                    1.     Inviolability
             By virtue of the VCDR, the DRA and customary international law, Mr. Saab is entitled to
   the highest levels of diplomatic immunity. Chief among them is “[p]ersonal inviolability,”
   including immunity from arrest and detention, which is “of all the privileges and immunities of
   missions and diplomats the oldest established and the most universally recognized.” Tachiona v.
   United States, 386 F.3d 205, 223 (2d Cir. 2004) (quoting Satow’s Guide to Diplomatic Practice
   120 (Lord Gore-Booth ed., 5th ed. 1979)); see also 767 Third Ave., 988 F.2d at 299–300. As the
   renowned international law scholar Vattel put it: “Whoever offers any violence to an ambassador,
   or any other public minister, not only injures the sovereign whom this minister represents, but he
   also hurts the common safety and well-being of nations: he becomes guilty of an atrocious crime
   towards the whole world.” Emmerich de Vattel, The Law of Nations or Principles of the Law of
   Nature Applied to the Conduct and Affairs of Nations and Sovereigns § 81, p. 680 (Luke White
   ed. 1792).22
             U.S. domestic law similarly recognizes the principle of diplomatic inviolability. Indeed,
   the first Congress enacted a law to ensure diplomats’ safe-conduct, making it a felony to “assault,
   strike, wound, imprison or in any other matter infract the law of nations by offering violence to
   the person of an Ambassador or other public Minister.” See Act of April 39, 1790, ch.9, § 28, 1
   Stat. 112 (1790). See also Bergman v. De Sieyes, 71 F. Supp. 334, 335 (S.D.N.Y. 1946), aff’d 170
   F.2d 360 (2d Cir. 1948) (1790 Act was “merely declaratory of the common law, of which the law
   of nations is a part.”). The DRA replaced the 1790 Act in 1978. It is now a felony, punishable by
   up to ten years’ imprisonment, to attempt or to “make[] a[] violent attack upon the[] person or
   liberty” of an “internationally protected person” or their “means of transport[.]” 18 U.S.C.




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        Attached as Exhibit 38.

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   § 112(a).23 This statute also makes it a felony to “willfully . . . intimidate[], coerce[], threaten[] or
   harass[] a foreign official or an official guest or obstruct[] a foreign official in the performance of
   his duties” or attempt to do so, including foreign ministers and ambassadors, among other high-
   ranking officials. 18 U.S.C. §§ 112 (b)(1)–(2), (c), § 1116(b).
           Because a diplomatic agent like Mr. Saab “shall not be liable to any form of arrest or
   detention,” VCDR, 23 U.S.T. at 3240, Art. 29, the government’s orchestrating of his arrest,
   obtaining his extradition from Cape Verde to the United States, and detaining him to this day are
   all unlawful violations of the longstanding, fundamental principle of diplomatic inviolability.
                   2.      In Transitu Immunity
           Diplomatic inviolability extends to diplomats who are traveling through third states on their
   way to or from their sending/receiving states. See 23 U.S.T. 3227, at 3246, Art. 40. This, too, is
   among the most basic and ancient requirements of international law. As Vattel stated long ago,
   “that prince alone to whom the minister is sent, is under a particular obligation that he shall enjoy
   all the rights annexed to his character: yet the others through whose dominions he passes, are not
   to deny him those regards to which the minister of a sovereign is intitled, and which nations
   reciprocally own to each other.” Vattel, supra, at 23, § 55, p. 664. Elliot’s treatise likewise affirms
   that a third country “is not to maltreat him [a diplomat in transitu], nor suffer any insult to be
   offered to his person.” Jonathan Elliot, A Concise Diplomatic Manual, Containing a Summary of
   the Law of Nations, in 2 Am. Diplomatic Code 398, ¶ 60 (1834).24 This right has been codified in
   the VCDR, Art. 40, which requires third-party states to accord a diplomat in transit, as was Mr.
   Saab, “inviolability and such other immunities as may be required to ensure his transit or return,”




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       The statute contains express extraterritoriality language, declaring “[i]f the victim of an offense
   under subsection (a) is an international protected person outside the United Sates, the United States
   may exercise jurisdiction over the offense if . . . (2) the offender is a national of the United States
   . . . .” 18 U.S.C. § 112(e).
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       Accord H.W. Halleck, 1 Int’l Law, or Rules Regulating the Intercourse of States in Peace &
   War, 362 § 32 (3d ed. 1893) (“In passing through the territory of a friendly state, other than that
   of the government to which he is accredited, a public minister, or other diplomatic agent, is entitled
   to the respect and protection due to his official character . . . . He has a right of innocent passage
   through the dominions of all States friendly to his own country, and to the honors and protection
   which nations reciprocally owe to each other’s diplomatic agents, according to the dignity of their
   rank and official character.”) (attached as Exhibit 39).

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   and that these obligations also apply to states where a diplomat’s presence was unplanned and/or
   the result of main force. See 23 U.S.T. 3227, at 3246, Art. 40(1), (4).
                          (a)     U.S. Courts Recognize In Transitu Immunity
          “In transitu” immunity has long been accepted, promoted, and demanded by the United
   States, and is fully recognized by its courts. The leading case is Bergman v. De Sieyes, which
   involved a French diplomat’s claim of immunity from civil suit, after having been served in New
   York while in transitu to his post in Bolivia. The district court, after extensively examining existing
   precedent, State Department practice and that of other countries, as well as customary international
   law treatises, concluded: (1) that a foreign minister is immune from civil and criminal jurisdiction
   in the country to which he is accredited because he is his sovereign’s alter ego and because
   subjection to such jurisdiction would interfere with the performance of his duties; and (2) that a
   foreign minister en route, either to or from his post in another country, is entitled to innocent
   passage through a third country and is also entitled, on the same grounds to the same immunity
   while in that state that he would have if permanently posted there. 741 F. Supp. at 341.
          The Second Circuit unanimously affirmed. Indeed, Judge Learned Hand concluded that
   “there are better reasons for favoring the immunity of a diplomat in transitu” than that of those
   posted to permanent missions and thus, “the courts of New York would today hold that a diplomat
   in transitu would be entitled to the same immunity as a diplomat in situ.” 170 F.2d at 363.25 Like
   Mr. Saab, the diplomat in Bergman was not accredited to the United States and had not yet reached
   his destination. Judge Hand found that “[i]t is scarcely necessary to add that immunity would be
   altogether frustrated, in the case of all diplomats seeking their posts for the first time, if it were
   limited to those already accepted by the sovereign to whom they are accredited.” Id. Similarly, in
   Rosal, the district court held that “under the common law of nations, diplomats-in-transit (although
   not accredited to the United States) are entitled to immunity when they are in the United States en
   route between their diplomatic posts and their respective home countries.” 191 F. Supp. at 664
   (citing United States v. Melekh, 190 F. Supp. at 85-86 and authorities cited therein).
          These rules are rooted in the Supreme Court’s foundational ruling in The Schooner
   Exchange v. M’Faddon, 11 U.S. (Cranch) 116 (1812), where, in ruling that U.S. courts lacked



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      Although technically construing New York law, the Circuit clearly indicated that the state’s
   view of customary international law on this point was correct.

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   jurisdiction to adjudicate a civil claim against a French warship under customary international law,
   Chief Justice Marshall specifically noted the related rule that there is an “immunity which all
   civilized nations allow to foreign ministers,” i.e., diplomats. Id. at 138. This diplomatic immunity
   “is implied from the consideration that, without such exemption, every sovereign would hazard
   his own dignity by employing a public minister abroad. His minister would owe temporary and
   local allegiance to a foreign prince, and would be less competent to the objects of his mission.” Id.
   at 139.
             Like a warship, a diplomat “acts under the immediate and direct command of the sovereign;
   is employed by him in national objects.” Id. at 144. And, as with warships, the sovereign “has
   many and powerful motives for preventing those objects from being defeated by the interference
   of a foreign state” and “[s]uch interference cannot take place without affecting his power and
   dignity.” Id.26
                           (b)     The Executive Branch Demands in Transitu Immunity for U.S.
                                   Diplomats
             The Executive Branch has long taken a broad view of in transitu immunity as being
   grounded in the fundamental right of all states to send and receive diplomats (the right of “legation”
   or “embassy”). The State Department has demanded this immunity not only for American
   diplomats,27 but also for foreign diplomats traveling to take up their posts in the United States—
   even in times of war. Thus, during World War I, the State Department demanded in transitu
   immunity for an Austro-Hungarian diplomat, accredited to the United States, to pass through sea
   lanes controlled by Britain and France. 4 Hackworth, supra, at § 388 at 462–63 (attached as Exhibit
   41). Despite their status of belligerents vis-à-vis Austria-Hungary, this was granted after the State



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      Moreover, under the The Schooner Exchange’s logic, pursuant to customary law, a sovereign
   can refuse in transitu immunity to a diplomat only if expressed prior to the commencement of the
   passage “in a manner not to be misunderstood”; otherwise, international law implies the
   sovereign’s right to safe passage and its corresponding diplomatic immunity. Id. at 146.
   27
      The State Department acknowledged and demanded jus transitus innoxii for an American
   diplomat as early as 1854 during the “Soulé affair.” The U.S. minister to Spain, Pierre Soulé, was
   detained while traveling through France to Madrid. See Moore, 4 A Digest of Int’l Law 557 (1906)
   (attached as Exhibit 40). The U.S. Minister to France “immediately addressed a protest to the
   French Government, not only against the interruption of Mr. Soulé’s journey, but also against the
   refusal, as he supposed, of the French Government to permit Mr. Soulé to pass through that
   country.” Id. France considered Soulé a subversive, but nevertheless recognized his in transitu
   rights and sent him on to Spain. Id. at 558.

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   Department informed the Allies that the United States had “an undisputed right to maintain
   diplomatic relations through accredited representatives with any nation, and that it could not
   believe that the British and French Governments intended to interfere with the exercise of this
   sovereign right.” Id. at 463. (emphasis added).
           The Department of State similarly expressed its unequivocal intent to honor the in transitu
   immunity of third country diplomats in 1924, when Charles Evans Hughes (then Secretary of State,
   later Chief Justice) wrote to the U.S. Minister to Panama regarding the customary international
   law obligation to allow third country diplomats—i.e., those not accredited to Panama or the U.S.—
   to transit the U.S. controlled Canal Zone on their diplomatic missions. Hughes advised that, while
   such diplomats’ “status in the territory of the canal zone” was uncertain, “[i]t would seem . . . that
   their status might be regarded as analogous to that of a diplomatic envoy traveling through the
   territory of a third state en route to his post.” Id. at 461–62. Thus, because the “institution of
   legation” is necessary for diplomacy to exist, “there ought to be no doubt whatever that such a
   third state must grant the right of innocent passage (jus transitus innoxii) to the envoy, provided
   that it is not at war with the sending or receiving state. The United States asserts that according to
   the law of nations a diplomatic officer is entitled to a right of transit to his post by sea, or through
   the national domain, whether land or water, of a state other than that to which he is accredited.”
   Id. at 461.
           Accordingly, Mr. Saab is fully entitled to diplomatic immunity, including personal
   inviolability, even though he is not accredited to the United States and not recognized as a
   diplomatic agent by the Secretary of State on that account. The United States has never conceded
   that its in transitu diplomats lack the most basic immunities of personal inviolability, including
   immunity to arrest and detention, and it would not concede as much today. The purpose of
   diplomatic immunity is “to protect the interests of comity and diplomacy among nations, and, not
   incidentally, to ensure the protection of our own diplomats abroad.” Devi v. Silva, 861 F. Supp. 2d
   135, 143 (S.D.N.Y. 2012). There is no room for the government to deny immunity to Mr. Saab
   when it has consistently demanded that same immunity for its own diplomats.
                          (c)     Immunity is Fully Supported by Art. 40.4 (Force Majeure)
           VCDR Article 40.1 codifies in transitu immunity, providing that “[i]f a diplomatic agent
   passes through or is in the territory of a third state, which has granted him a passport visa if such
   visa was necessary, while proceeding to take up or to return to his post, or when returning to his


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   own country, the third State shall accord him inviolability and such other immunities as may be
   required to ensure his transit or return.” It is unclear whether a visa was necessary in the case of
   the refueling stop Mr. Saab’s plane made in Cape Verde but he was in fact issued a visa at the
   Cape Verde airport. With respect to the United States, it sought Mr. Saab’s extradition and brought
   him to this country knowing that he was a diplomat in transitu and immune from arrest and
   detention. No further notification was necessary, and by forcibly bringing Mr. Saab to the United
   States the government waived any visa requirement that might otherwise apply. As a matter of
   law, therefore, he fully complied with Art. 40.1 requirements for recognition of his immunity, and
   also with the Special Mission Convention Art.42.4 notification requirements.
          In addition, VCDR Article 40.4 directly addresses the situation where a diplomat in transitu
   finds himself in a state, through which he had not planned to travel, whether by chance or by force.
   The text is framed in terms of the diplomat’s presence being the result of “force majeure,” which
   is “a superior force” from the French, and describes “[a]n event or effect that can be neither
   anticipated nor controlled.” Black’s Law Dictionary 718 (9th ed. 2009). See also 6 Oxford English
   Dictionary 1989 (2d ed. 1989) (force majeure defined as “[i]rresistible force or overwhelming
   power.”). Significantly, “force majeure covers human as well as natural causes.” 1978 Yearbook
   of the International Law Commission, Vol. II, part 1, at p. 68. It is also to be distinguished from
   the concept of emergency or necessity: “Force majeure, on the other hand, is an external and
   irresistible force which operates independently of the will of the agent.” Id. at p. 73. (The UNCSM
   also guarantees force majeure immunity at Art. 42.5).
          That is this case. Mr. Saab was forcibly and unlawfully detained by Cape Verde authorities
   during a routine refueling stop and unlawfully imprisoned there for sixteen months. He was then,
   without notice and while his judicial challenges were still pending in the Cape Verde courts, seized
   by government paramilitaries, handcuffed, and taken to a waiting plane where American agents
   forcibly took custody and brought Mr. Saab to the United States against his will and that of his
   sending state. Mr. Saab is, therefore, also entitled to in transitu immunity on the basis of force
   majeure.
                  (d)     In Detaining Mr. Saab, the United States Violates the Right of Legation
          The government’s failure to accord Mr. Saab diplomatic immunity also violates the
   sovereignty and core international law rights of Venezuela and Iran. As noted by Chief Justice
   Hughes above, these include the “right of legation,” see Hackworth, supra, at 461. One leading


                                                   31
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   publicist describes the right as follows: “Every independent State has a right to send public
   ministers to, and receive ministers from, any other sovereign State with which it desires to maintain
   the relations of peace and amity.” Henry Wheaton, Elements of International Law 374 (3d ed.
   1863).28 Since the United States has at all relevant times recognized Venezuela’s sovereignty, and
   the right of legation is a core attribute of sovereignty, the key provision of the U.N Charter—
   Article 2(1) which requires adherence to the principle of the sovereign equality of all U.N. member
   states—unquestionably mandates that the United States cannot impair the right of legation of either
   Venezuela or Iran to exchange special envoys endowed with diplomatic immunity.
          E.      The Government Is Not Entitled to Deference
          The government is not entitled to deference on the question of Mr. Saab’s immunity. He is
   not accredited to the United States and the Executive Branch’s authority to recognize or reject a
   diplomat’s status is grounded in the Constitution’s “Reception Clause,” Article II, § 3. See
   Muthana v. Pompeo, 985 F.3d 893, 907 (D.C. Cir. 2021) (“The Reception Clause recognizes the
   President’s authority to determine the status of diplomats, a fact long confirmed by all three
   branches”). But the Reception Clause authorizes the President to “receive Ambassadors and other
   public Ministers,” (emphasis added), and therefore applies only where the United States is the
   receiving state. It cannot be construed to authorize the State Department to issue authoritative
   rulings, either on the diplomatic relations between other nations or on the United States’
   obligations under the VCDR. Through the DRA, Congress vested that authority in the courts.29
          Nor is there any determination meriting deference. The State Department’s Office of
   Foreign Missions (“OFM”) certification that Mr. Saab does not appear on the listing of diplomats
   accredited to the United States, and its perfunctory statement that it “is not aware of a basis for
   [Mr. Saab] to enjoy immunity from the criminal or civil jurisdiction of the United States,” is



   28
     Attached as Exhibit 42.
   29
     In an instructive case, JPMorgan Chase Bank v. Traffic Stream (BVI) Infrastructure Ltd., 536
   U.S. 88 (2002), the Court considered what “citizens or subjects of a foreign state” means for
   purposes of determining alienage diversity jurisdiction under 28 U.S.C. § 1332(a)(2). It rejected
   the Second Circuit’s position in Matimak Trading Co. v. Khalily, 118 F.3d 76 (2d Cir. 1997),
   which looked to whether the Executive Branch had recognized the relevant state as such. Instead,
   the Court focused on Congressional intent and the statute’s underlying purpose—there, to satisfy
   foreign governments by opening the federal courts to claims by their citizen creditors. Because the
   British Virgin Island was sufficiently a state (although a British dependency unrecognized by the
   U.S. as such) for those purposes, the Court concluded that the statute applied. Id. at 96.

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   meaningless. ECF 24-3.30 The bare assertion of unawareness is neither conclusive nor even
   informative on the relevant factual predicates to immunity, and it offers no legal analysis to which
   the Court could defer.
          Moreover, any deference the State Department enjoys vis-à-vis diplomats accredited to the
   United States concerns the fact of diplomatic status, not the legal significance of that status. The
   State Department’s certification “is . . . evidence to prove the diplomatic character of a person
   accredited” as a factual matter, In re Baiz, 135 U.S. at 421, but the federal courts still “must ensure
   that the State Department’s certification was not based on an impermissible interpretation of the
   Vienna Convention.” United States v. Al-Hamdi, 356 F.3d 564, 570 (4th Cir. 2004). Thus, the
   Abdulaziz Court concluded that State Department recognition of a Saudi prince as a Special Envoy
   was unreviewable, but this deference concerned the recognition itself, not its legal effect. See 741
   F.2d at 1330–31. The Court itself determined that category of diplomat is entitled to immunity
   under the VCDR and the DRA. As shown above, a Special Envoy is entitled to immunity under
   the Convention, and the government has no authority to declare otherwise.
          F.      The Actions of Cape Verde and The Act of State Doctrine are Irrelevant
          The government’s bald assertion that “[a]ny transit immunity to which SAAB MORAN
   could possibly enjoy in the United States must be an extension of the transit immunity he enjoyed
   when transiting Cape Verde,” ECF No. 135 at 9, is unsupported by authority and is plainly wrong.
   Nothing in the VCDR suggests that one state’s decision to recognize or not recognize an in transitu
   diplomat’s immunity is in any way binding on any other state party. That treaty imposes equal and
   independent obligations on the United States and Cape Verde to comply with its terms. And, as a
   matter of U.S. law, the United States’ treaty obligations are in no way derivative of Cape Verde’s
   obligations. They are governed by the treaty as well as the DRA and the Eleventh Circuit’s
   controlling opinion in Abdulaziz. Consequently, the government’s reliance on the “act of state”
   doctrine is misdirected and meritless. Mr. Saab does not ask this Court to review Cape Verde’s
   extradition decision, but to enforce the United States’ indisputable international law obligations




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      The government’s reliance on OFM’s statement is misplaced. Moreover, OFM’s statement
   should be subject to substantial scrutiny as detailed in Mr. Saab’s pending motion for
   reconsideration, see ECF No. 146, particularly in light of the documents identified to date that call
   into question the representations made by OFM. Id.

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   by recognizing Mr. Saab’s diplomatic immunity as Special Envoy from Venezuela to Iran. The act
   of state doctrine simply has no application here.31
          Similarly, the government’s misguided collateral estoppel claim, asserting that Mr. Saab’s
   immunity was already adjudicated in the Cape Verde courts, is without merit. See ECF 135 at 11.
   This argument is specious for three independent reasons. First, that country’s judiciary made the
   recognition of immunity dependent on an act of the Cape Verde’s executive branch rather than a
   judicial analysis of whether Mr. Saab was entitled to immunity. It was a political question. The
   Cape Verde Attorney General informed that country’s Constitutional Court as follows: “The
   competence to recognize the quality of special envoy belongs to the Executive Branch and not to
   the Judiciary Branch.” See Exhibit 43 (Letter dated 28 June 2021) at 28. The Constitutional Court
   unequivocally agreed. See ECF 135-3 at 193.
          Second, even had Cape Verde courts ruled on the question of immunity, this would not and
   could not bind a U.S. court in applying the VCDR and DRA. As the Supreme Court has found,
   “[i]f treaties are to be given effect as federal law under our legal system, determining their meaning
   as a matter of federal law ‘is emphatically the province and duty of the judicial department,’ headed
   by the ‘one supreme Court’ established by the Constitution.” Sanchez-Llamas v. Oregon, 548 U.S.
   331, 353-354 (2006) (quoting Marbury v. Madison, 1 U.S. (Cranch) 137, 177 (1803)). And, of
   course, the rulings of foreign courts do not bind the courts of the United States. See Medellin v.
   Texas, 552 U.S. 491, 518 (2008) (“A [foreign court] judgment is binding only if there is a rule of
   law that makes it so.”).
          Third, the Cape Verde courts considered only Mr. Saab’s claim to immunity under the
   UNCSM. Under Eleventh Circuit law, however, his claim to immunity is principally grounded in
   the VCDR, and those instruments are not identical. As noted above, VCDR Art. 40.1 requires a



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      The Ker-Frisbie doctrine is equally inapposite. See Ker v. Illinois, 199 U.S. 426, 444 (1886);
   Frisbie v. Collins, 342 U.S. 519, 522 (1952). Those cases establish that the Due Process Clause is
   not offended where a defendant is brought within the court’s jurisdiction through improper, even
   illegal, means. See also United States v. Alvarez-Machain, 504 U.S. 655 (1992) (reaffirming the
   Kerr-Frisbie doctrine). By contrast, Mr. Saab is immune from the Court’s jurisdiction as an in
   transitu diplomatic agent who is not subject to arrest or detention, and is also entitled to “such
   other immunities as may be required to ensure his transit or return.” VCDR, at Art. 40.1. There
   can be no question that continuance of these proceedings impedes performance of Mr. Saab’s
   diplomatic duties and his diplomatic immunity prohibits this Court from exercising jurisdiction
   over him.

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   visa only if “necessary,” whereas Art. 42.4 of the UNCSM, requires that the third party State “has
   been informed in advance . . . of the transit.”32 Moreover, the Cape Verde court also did not opine
   on Mr. Saab’s claims under VCDR Art. 40.4 or UNCSM Art. 42.5 (force majeure).
                                             CONCLUSION
          From time immemorial, it has been recognized that diplomats must enjoy immunity from
   arrest, detention, or any type of violence or harassment in order to fulfil their critical role. As the
   International Court of Justice stated in its Order of 15 December 1979, taking provisional measures
   against Iran after its occupation of the United States Embassy in Tehran: “there is no more
   fundamental prerequisite for the conduct of relations between States than the inviolability of
   diplomatic envoys and embassies . . . the obligations thus assumed . . . assuring the personal safety
   of diplomats and their freedom from prosecution, are essential, unqualified, and inherent in their
   representative character and their diplomatic function.” See Case Concerning United States
   Diplomatic and Consular Staff in Tehran (U.S. v. Iran), Order Indicating Provisional Measures, ¶
   38 (Dec. 15, 1979) available at https://www.icj-cij.org/public/files/case-related/64/064-19791215-
   ORD-01-00-EN.pdf.
          This is especially the case today, where the dangers of global war are real and immediate.
   As a global power, with diplomats traveling the world, the United States necessarily has a strong
   interest in the integrity and consistent vindication of the most basic diplomatic immunities,
   including and especially the personal inviolability that protects its diplomats from arrest and
   detention and criminal prosecution. And it is legally required to comply with the VCDR, DRA,
   customary international law, and caselaw.
          The Court should dismiss the Indictment and order Mr. Saab’s immediate release so that
   he can continue his Mission to Iran or return to Venezuela for additional instruction on that
   mission.




   32
     Ignoring Mr. Saab’s diplomatic immunity, Cape Verde nevertheless accorded immunity to his
   family during their visits to him in that country, even though their immunity is necessarily
   derivative of his. See UNCSM Art. 42.4. In any event, it is also important that Cape Verde never
   objected to Mr. Saab’s transit through that country.

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                      CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 88.9

           Counsel has conferred with Counsel for the government pursuant to Local Rule 88.9 in a
   good faith effort to resolve the issues raised in this motion and has been unable to do so.
   Date: October 17, 2022                                       Respectfully submitted,

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                                        CERTIFICATE OF SERVICE
                   I HEREBY CERTIFY that on October 17, 2022, I electronically filed the foregoing
   with the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic
   filing to all counsel of record.
                                                                        /s/ Lindy K. Keown
                                                                        Lindy K. Keown


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